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                         Entered on Docket
                       5March 22, 2023
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                       6
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                     11        Tel: 725.777.3000
                               [Proposed] Attorneys for Michael Carmel,
                     12        Chapter 11 Trustee

                     13                                UNITED STATES BANKRUPTCY COURT

                     14                                          DISTRICT OF NEVADA

                     15       In re:                                           CASE NO. BK-21-14978-ABL

                     16       SILVER STATE BROADCASTING, LLC,                  Chapter 11

                     17         AFFECTS THIS DEBTOR                            Jointly Administered with:

                     18         AFFECTS GOLDEN STATE                           Golden State Broadcasting, LLC
                                BROADCASTING, LLC                              Case No. 21-14979-ABL
                     19
                                AFFECTS MAJOR MARKET                           Major Market Radio, LLC
                     20         RADIO, LLC                                     Case No. 21-14980-ABL

                     21         AFFECTS ALL DEBTORS
                     22

                     23                ORDER GRANTING EX PARTE APPLICATION FOR EXAMINATION OF
                                           EDWARD STOLZ PURSUANT TO BANKRUPTCY RULE 2004
                     24
                                       Upon the Ex Parte Application for Examination of Edward Stolz Pursuant to Bankruptcy
                     25
                              Rule 2004 (the “Ex Parte Application”) filed by Michael Carmel, Chapter 11 Trustee (the
                     26
                              “Trustee”), and good cause appearing therefor;
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Garman Turner Gordon
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 Las Vegas, Nevada 89119
      (725) 777-3000
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                       1             IT IS HEREBY ORDERED that Edward Stolz shall appear for a Rule 2004 examination

                       2      on a date after April 4, 2023 that is set forth in a subpoena issued to Mr. Stolz, or such other date

                       3      as Mr. Stolz and the Trustee agree, pursuant to FED. R. BANKR. P. 2004, regarding matters that are

                       4      within the permitted scope of Rule 2004, including without limitation the acts, conduct, property,

                       5      liabilities, financial condition, and business dealings of the above-captioned debtors. The Trustee

                       6      shall issue a separate subpoena pursuant to Fed. R. Bankr. P. 9016 for the production of documents.

                       7             IT IS FURTHER ORDERED that the examination may be continued from day to day

                       8      until concluded and that the examination will be recorded by a certified court reporter by
                       9
                              stenographic means and may also be videographically recorded.
                     10
                                     IT IS SO ORDERED.
                     11
                              PREPARED AND SUBMITTED:
                     12
                              GARMAN TURNER GORDON LLP
                     13

                     14       By:    /s/ Gregory E. Garman
                                     GREGORY E. GARMAN, ESQ.
                     15              TALITHA GRAY KOZLOWSKI, ESQ.
                                     7251 Amigo Street, Suite 210
                     16              Las Vegas, Nevada 89119
                                    [Proposed] Attorneys for Michael Carmel,
                     17             Chapter 11 Trustee
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